                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                    CIVIL CASE NO. 3:12-cv-00253-MR
              [Criminal Case No. 3:08-cr-00259-RJC-DCK-9]


GABRIEL NEAL,                             )
                                          )
               Petitioner,                )
                                          )
         vs.                              )      MEMORANDUM OF
                                          )      DECISION AND ORDER
UNITED STATES OF AMERICA,                 )
                                          )
               Respondent.                )
                                          )

        THIS MATTER is before the Court on Motion to Vacate, Set Aside or

Correct Sentence, filed pursuant to 28 U.S.C. § 2255 [Doc. 1];

Respondent’s Motion for Summary Judgment [Doc. 8]; and Petitioner’s

Motion for Expedited Hearing [Doc. 14]. For the reasons that follow,

Respondent’s motion will be granted and Petitioner’s motions will be denied

and dismissed.

I.      FACTUAL AND PROCEDURAL BACKGROUND

        On December 17, 2008, Petitioner and eight co-defendants were

charged with multiple counts related to an alleged scheme to defraud

individuals, merchants, and financial institutions through the theft of certain

securities such as checks or money orders, or through stealing personal



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identification documents in a scheme to create fraudulent financial

documents. These stolen or forged documents were then employed in an

effort to obtain goods from retail stores. In some cases, the defendants

were alleged to have retained the purchases and in others the merchandise

was returned for a cash refund. [Criminal Case No. 3:08-cr-00259, Doc. 3:

Indictment]. The Indictment further alleged that in carrying out this scheme

to defraud, Petitioner and others committed wire fraud by transmitting

fraudulently obtained property by means of wire communications in

interstate commerce, in violation of 18 U.S.C. § 1349. Additional counts

included conspiracy to commit identity theft, in violation of 18 U.S.C. §§

1028(a)(7), (b)(1)(A)(ii), (b)(1)(B), (b)(1)(D) and 1028(f); bank fraud, in

violation of 18 U.S.C. §§ 1344 and 2; and aggravated identity theft, in

violation of 18 U.S.C. §§ 1028A and 2. [Id.].

     Petitioner was appointed counsel and entered into a written plea

agreement with the Government. In the agreement, Petitioner agreed to

enter voluntary pleas of guilty to Count One (conspiracy to commit wire

fraud) and Count Fifteen (aggravated identity theft) of the Bill of Indictment

in exchange for the Government’s agreement to dismiss the remaining

counts. [Id., Doc. 104: Plea Agreement          ¶¶ 1-2]. Pursuant to the plea

agreement, Petitioner agreed that the Court “may consider any such

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dismissed counts and all pertinent information as ‘relevant conduct’ under”

the Sentencing Guidelines. [Id.].

      The plea agreement provided that Petitioner understood that the

statutory maximum sentence for conviction on Count One was no more

than thirty years’ imprisonment; and upon conviction on Count Fifteen

Petitioner faced a mandatory term of two years to be served consecutively

to the sentence imposed for Count One. [Id. ¶ 4].

      In executing the plea agreement Petitioner acknowledged that he was

aware that the Court had not determined his sentence of imprisonment,

and “that any estimate from any source, including defense counsel, of the

likely sentence is a prediction rather than a promise, and that the Court has

the final discretion to impose any sentence up to the statutory maximum for

each count.” [Id. ¶ 6].

      In the plea agreement, Petitioner agreed both to allow a magistrate

judge to conduct his Rule 11 hearing, and that the factual basis for his plea

could be deferred until his sentencing hearing. [Id. ¶¶ 14-15]. On April 9,

2009, Petitioner appeared with counsel before U.S. Magistrate Judge David

Kessler to enter his guilty plea. [Id., Doc. 111: Acceptance and Entry of

Guilty Plea]. Petitioner was placed under oath and acknowledged that he

was entering pleas of guilty to Counts One and Fifteen of the Bill of

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Indictment, and that if accepted his guilty pleas could not be withdrawn at a

later time.

      Petitioner represented to the Court that had reviewed the elements of

Counts One and Fifteen with his counsel along with the terms of the plea

agreement. Next, the Court recounted the elements of Counts One and

Fifteen, including the minimum and maximum terms of imprisonment and

other penalties upon conviction for each offense. Petitioner agreed that he

understood the potential terms of imprisonment for conviction on each

count and that he understood the elements that the government would be

required to prove beyond a reasonable doubt should Petitioner elect to

abandon his decision to plead guilty and choose instead to go to trial.

      Petitioner stated that he and his attorney had discussed how the

Sentencing Guidelines may apply to the determination of his sentence, and

that the District Court would not be bound by the Guidelines, but the Court

must nevertheless consult the Guidelines in formulating an appropriate

sentence. Next, Petitioner expressed his understanding that the Court

would impose a sentence within the statutory limits, but that the sentence

could be greater or less than the sentence as suggested by the Guidelines.

Petitioner then acknowledged that even if the Court imposed a sentence

that was more severe than he expected, he would still be bound by his plea

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of guilty and have no right to withdraw the plea.

      Petitioner swore that he was knowingly and voluntarily waiving his

right to plead not guilty and demand a trial where he could examine

witnesses, call witnesses on his behalf, and he acknowledged that the

Government would be required to prove each element of the charged

counts beyond a reasonable doubt. After deciding to waive these rights,

Petitioner admitted to the Court that he was, in fact, guilty of the conduct

charged in Counts One and Fifteen, and that his decision to plead guilty

was not the product of coercion, threats or promises, other than those

promises as detailed in the written plea agreement.

      The Court continued by confirming Petitioner’s acceptance of the

terms of his plea agreement and that he was expressly waiving his right to

appeal his conviction or sentence except on the grounds of prosecutorial

misconduct and/or ineffective assistance of counsel. Petitioner agreed that

he had reviewed the terms of the plea agreement with his attorney; that he

had discussed any possible defenses to the charges filed against him; and

that he was entirely satisfied with the services of his attorney. Finally,

Petitioner agreed that he understood all parts of the Rule 11 hearing and

that he wanted the Court to accept his pleas of guilty. The Court then

accepted Petitioner’s pleas of guilty after finding that Petitioner understood

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the charges, the potential penalties, the consequences of the entry of his

pleas of guilty, and that the pleas were both knowingly and voluntarily

entered.1

       A presentence investigation report (“PSR”) was prepared by the

United States Probation Office, and Petitioner, through counsel, filed

numerous objections to the PSR.2 While Petitioner’s objections were being

considered by the probation officer, Petitioner’s counsel, after being

instructed by Petitioner, filed a motion to withdraw from further

representation citing Petitioner’s numerous objections to her performance

in his case. Counsel contended that Petitioner expressed a lack of trust in

her efforts and ability to represent his best interest, and that he may want

another attorney appointed. [Id., Doc. 183: Motion to Withdraw].

       On November 12, 2009, Judge Kessler held an inquiry into status of

counsel hearing. Petitioner’s attorney, Julia Mimms, explained that she had

been appointed to represent Petitioner after his indictment and thus far

been his sole attorney during the course of the federal criminal

proceedings. Ms. Mimms stated that over the past several months



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  In making these findings, the Court has examined the transcript of the Rule 11 hearing
along with the Acceptance and Entry of Guilty Plea.
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 The objections will be addressed herein to the extent discussion is necessary to
resolve the issues raised by Petitioner.
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Petitioner had lodged complaints about her performance and intimated that

he might want new counsel. Among other things, Petitioner accused Ms.

Mimms of withholding a police report from him during discovery and that

she did not have his best interest in mind. [Id., Doc. 240: Inquiry into Status

of Counsel at 2-5].

      Petitioner addressed the Court and expressed concern that he may

have pled guilty to the wrong charges in his Indictment. Petitioner

complained that he had not been provided sufficient access to the

discovery and that he might not have entered into a plea agreement or

entered his guilty pleas had he been able to sufficiently examine the

discovery. [Id. at 10-11]. Finally, Petitioner complained that he had been

denied a reasonable chance for pretrial release and that Ms. Mimms had

ignored his case.

      The Court then addressed Petitioner and in a quick turnabout from

his previous positions, Petitioner confirmed that he could continue to work

and cooperate with counsel in preparation for his sentencing hearing and

he asked that Ms. Mimms continue as his counsel. The Court cautioned

Petitioner that as he had agreed to continue with present counsel, he must

cooperate and his refusal could necessitate another motion to withdraw.

Further, Petitioner was warned that if he refused to cooperate and then

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sought new counsel that there was no indication that his sentencing would

be delayed. Based on the clear assertions of the Petitioner, the motion to

withdraw was denied.

      On February 8, 2010, a second motion to withdraw was filed by

counsel at Petitioner’s direction. The motion recounted the troubled

attorney-client relationship and stated that communication had deteriorated

to the point that an effective working relationship was no longer likely. [Id.,

Doc. 225: Second Motion to Withdraw]. The Court convened a second

hearing on status of counsel on February 10, 2010, and found, after

hearing from counsel and Petitioner, that the attorney-client relationship

appeared irretrievably broken. The Court therefore allowed the motion to

withdraw in open court. Petitioner was cautioned, however, that as his

sentencing hearing would likely occur within a few weeks, and that any

continuance on the basis of newly appointed counsel would be within the

discretion of the presiding district judge. The Court appointed new counsel

on February 12, 2010.

      On March 10, 2010, newly-appointed counsel filed a motion to

continue the sentencing hearing which had been scheduled for April 6,

2010. The motion discussed the voluminous discovery that counsel was

presently reviewing. Counsel explained that he planned to meet with an

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agent from the Federal Bureau of Investigation in an effort to hone in on the

discovery that was relevant to Petitioner’s case.

      The motion also noted that the Government had expressed that

Petitioner had breached his plea agreement by, among other actions,

failing to accept responsibility for his crimes. The motion further stated that

Petitioner had expressed a desire to withdraw his plea agreement and

counsel claimed that he would need more time to review discovery and

determine what implications attempting to withdraw the plea might present.

[Id., Doc. 231]. The Government opposed the motion to continue and the

Court denied the continuance on March 11, 2010.

      On April 6, 2010, Petitioner appeared with his new counsel for his

sentencing hearing. An oral motion by counsel to continue was denied after

the Court found that Petitioner’s counsel, who was appointed on February

12, some two months before the hearing, had sufficient time to prepare.

Further, the Court found that any information that Petitioner’s counsel felt

was necessary during the hearing could be provided by the Government

and counsel could review the information during a short recess in the

proceedings.

      Following a hearing that continued over the course of two days, the

Court sentenced Petitioner to 46-months’ imprisonment on Count One and

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a mandatory consecutive term of two years’ imprisonment for his conviction

on Count Fifteen. [Id., Doc. 250: Judgment in a Criminal Case]. Petitioner

filed a notice of appeal.

         The Government, citing Petitioner’s explicit waiver of his right to

appeal – except on grounds of ineffective assistance of counsel or

prosecutorial misconduct – moved to dismiss the appeal and Petitioner’s

appellate counsel filed a motion opposing dismissal. United States v. Neal,

No. 10-4496 (4th Cir. filed Apr. 29, 2010). On April 28, 2011, the Fourth

Circuit entered an Order granting the Government’s motion and dismissing

the appeal.        The Court found that the issues he raised were fully

encompassed by his waiver of appellate rights and that Petitioner’s

decision to waive such appellate rights was knowing and voluntary. The

present § 2255 motion followed.

II.      STANDARD OF REVIEW

         Rule 56(a) of the Federal Rules of Civil Procedure provides:

               A party may move for summary judgment,
               identifying each claim or defense — or the part of
               each claim or defense — on which summary
               judgment is sought. The court shall grant summary
               judgment if the movant shows that there is no
               genuine dispute as to any material fact and the
               movant is entitled to judgment as a matter of law.
               The court should state on the record the reasons for
               granting or denying the motion.

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Fed. R. Civ. P. 56(a).       The rule goes on to provide procedures for

responding to a motion for summary judgment:

            c) Procedures.

            (1) Supporting Factual Positions. A party asserting
            that a fact cannot be or is genuinely disputed must
            support the assertion by:

            (A) citing to particular parts of materials in the
            record,     including    depositions,     documents,
            electronically stored information, affidavits or
            declarations, stipulations (including those made for
            purposes of the motion only), admissions,
            interrogatory answers, or other materials; or

            (B) showing that the materials cited do not establish
            the absence or presence of a genuine dispute, or
            that an adverse party cannot produce admissible
            evidence to support the fact.

            (2) Objection That a Fact Is Not Supported by
            Admissible Evidence. A party may object that the
            material cited to support or dispute a fact cannot be
            presented in a form that would be admissible in
            evidence.

            (3) Materials Not Cited. The court need consider
            only the cited materials, but it may consider other
            materials in the record.

            (4) Affidavits or Declarations. An affidavit or
            declaration used to support or oppose a motion
            must be made on personal knowledge, set out facts
            that would be admissible in evidence, and show that
            the affiant or declarant is competent to testify on the
            matters stated.

Fed. R. Civ. P. 56(c).
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        On a motion for summary judgment, the moving party has the burden

of production to show that there are no genuine issues of fact for trial.

Once the moving party has met that burden, the non-moving party has the

burden of persuasion to establish that there is a genuine issue for trial.

             When the moving party has carried its burden under
             Rule 56(c), its opponent must do more than simply
             show that there is some metaphysical doubt as to
             the material facts. Rather, the nonmoving party
             must come forward with “specific facts showing that
             there is a genuine issue for trial.” Where the record
             taken as a whole could not lead a rational trier of
             fact to find for the nonmoving party, there is no
             “genuine issue for trial.”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87

(1986) (citations omitted; emphasis in the original) (quoting Fed. R. Civ. P.

56).3

III.    DISCUSSION

        A.   First Claim for Relief

        In his first claim for relief, Petitioner contends that he received

ineffective assistance of counsel because, as he blankly argues, Ms.

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  The Court has considered the record in the matter and applicable authority and
concludes that the disposition of the Government’s motion for summary judgment can
be resolved without an evidentiary hearing in that Petitioner has failed to present a
forecast of evidence on any of his claims sufficient to survive summary judgment. See
Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).


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Mimms had an inappropriate relationship with the Government attorney

who was assigned to his prosecution, Mr. Zolot. [Civil Case No. 3:12-cv-

00253, Doc. 1-1 at 3].4 As Petitioner maintains, this relationship with Mr.

Zolot prevented Ms. Mimms from providing him with a vigorous and sound

defense. Petitioner argues that this inappropriate relationship served as a

“Trojan horse” which allowed the Government to gain an unfair advantage

in plea negotiations and ultimately left him unprepared to fight his case

because Ms. Mimms refused to adequately review the evidence against

him, and pressured him to plead guilty.

       On January 22, 2009, a hearing was held to examine a potential

conflict of interest. At this hearing, Ms. Mimms admitted that she had had a

relationship with Mr. Morris, a Government attorney involved in the

prosecution of Petitioner. Ms. Mimms explained that her relationship with

Mr. Morris had ended before her representation of Petitioner began and

that she did not believe that the relationship would have any impact on her

ability to zealously represent Petitioner’s interest. Ms. Mimms advised that

all of her communications with the Government had been conducted with

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   As the Court finds that this first claim regarding an improper relationship is patently
frivolous, the Court will defer discussing the standard for effective assistance of counsel.
To the extent that Petitioner contends Ms. Mimms’ performance entitles him to any relief
under Strickland, the Court finds that these contentions lack merit.

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Mr. Zolot. Ms. Mimms further stated that she had advised Petitioner of the

past relationship.

      Petitioner addressed the court and stated that Ms. Mimms had

provided excellent representation and that although he understood she had

a prior relationship with the Government attorney, he did not believe that

would impact his case in any way and he requested that she remain as his

attorney. When asked by the Court if he would agree to waive any potential

conflict of interest Petitioner replied that he would so waive. The Court

found that Petitioner’s decision to waive any conflict of interest was

knowing and voluntary. [Id., Doc. 314: Status of Counsel Hearing].

      In light of these circumstances, Petitioner’s argument that Ms. Mimms

was having a relationship with Mr. Zolot is wholly without any evidentiary

foundation and without merit.        Petitioner offers nothing except an

unsupported allegation that Ms. Mimms had a “paramour” relationship with

Mr. Zolot. In her affidavit, submitted along with the Government’s motion for

summary judgment, Ms. Mimms flatly denies that she ever had a

“paramour relationship” with Mr. Zolot and Petitioner offers no evidence to

rebut this testimony. [Doc. 7-1 at 3: Mimms Aff.]. Further, to the extent

Petitioner has confused Mr. Morris with Mr. Zolot, the Court finds that he


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has clearly waived any argument regarding conflict of interest. In response

to the Motion for Summary Judgment the Petitioner has offered no forecast

of evidence that supports this claim in any respect.            Accordingly, the

Respondent’s Motion for Summary Judgment will be granted and this claim

will be denied.

      B.    Second Claim for Relief

      In his second claim, Petitioner argues that his guilty plea was not

knowingly and voluntarily entered because the Magistrate Judge did not

require the Government to present sufficient facts to support the plea

during his Rule 11 hearing. [Doc.1-1 at 14]. Petitioner’s claim is foreclosed

by the express terms of his plea agreement and his sworn statements

during his Rule 11 colloquy.

      In his plea agreement, Petitioner provided first, that a duly qualified

magistrate judge could conduct his Rule 11 hearing, and second, that the

factual basis for his plea would be deferred until the sentencing hearing.

[3:08-cr-00259, Doc. 104: Plea Agreement ¶¶ 14-15]. In addition, Petitioner

admitted under oath that there were sufficient facts to support of a finding

of his guilt on Counts One and Fifteen and each of the elements of Counts

One and Fifteen were explained to Petitioner. Moreover, Petitioner

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acknowledged that he understood the charges against him and that he was

in fact guilty as charged.

      During his Rule 11 hearing, Petitioner acknowledged, while under

oath, that he understood the terms of his plea agreement and that he

agreed with those terms. “[A] defendant’s solemn declarations in open

court affirming [a plea] agreement . . . ‘carry a strong presumption of

verity.’” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (citing

United States v. White, 366 F.3d 291, 295 (4th Cir. 2004) (internal citation

omitted). “[C]ourts must be able to rely on the defendant’s statements

made under oath during a properly conducted Rule 11 colloquy.” Lemaster,

supra (citing United States v. Bowman, 348 F.3d 408, 417 (4th Cir. 2003)).

This strong presumption that a defendant has been truthful in his sworn

answers creates “a formidable barrier in any subsequent collateral

proceedings.”     Lemaster, supra (alterations and internal quotations

omitted). Based on the foregoing, “in the absence of extraordinary

circumstances, the truth of sworn statements made during a Rule 11

colloquy is conclusively established, and a district court should, without

holding an evidentiary hearing, dismiss any § 2255 motion that necessarily

relies on allegations that contradict the sworn statements. Otherwise, a


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primary virtue of Rule 11 colloquies would be eliminated – “permit[ting]

quick disposition of baseless collateral attacks.”     Id. at 221-22 (quoting

Blackledege v. Allison, 431 U.S. 63, 80 n.19 (1997)).

      It is clear from the court record that Petitioner’s decision to defer a

factual basis until sentencing; his express agreement to proceed with the

Magistrate Judge during his Rule 11 colloquy; and his solemn admission of

guilt foreclose his argument regarding the voluntary and knowing nature of

his plea. Petitioner has presented no forecast of evidence to support this

claim. Accordingly, the Respondent’s Motion for Summary Judgment will

be granted, and this claim will be denied.

      C.    Third Ground for Relief

      Here, Petitioner contends that this Court erred in denying Petitioner’s

request to withdraw his guilty plea to Count Fifteen of the Bill of Indictment.

[Doc. 1-1 at 11-15]. This is yet another attack on the knowing and voluntary

nature of his plea of guilty to Count Fifteen.

      During his sentencing hearing, the Court reviewed the contents of the

plea agreement, the acceptance and entry of guilty plea form, and the

contents of the Rule 11 colloquy. Petitioner again acknowledged that he

had signed each of the documents, and that in each document he had


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conceded he was not contesting the conduct charged in Count Fifteen,

and, importantly that he was not contesting the charge because he did, in

fact, commit the crime that he had been charged with. [3:08-cr-00259, Doc.

270: Sent. Tr. at 29-30]. The Court then confirmed that based on the

answers given during the Rule 11 hearing, and on the acceptance of plea

form, and during the sentencing hearing, that Petitioner had entered a

knowing and voluntary plea of guilty to both Counts One and Fifteen. [Id. at

33].

       The Court next turned to the factual basis as it pertained to the

aggravated identify theft charged in Count Fifteen and found that the facts

set forth in the portions of the PSR to which the Petitioner did not object

were insufficient to establish a full factual basis. [Id.]. The Government then

made a proffer regarding the evidence obtained during the investigation.

Specifically, the Government proffered that the evidence would show that

Petitioner appeared with his co-defendant, Lorretta Blakeney-Herron, at a

Quality Inn in Charlotte presenting a check drawn from Fifth Third Bank and

an identification card stolen from Dwana Frazier Tillman; the card was later

recovered from the home of Blakeney-Herron; Blakeney-Herron admitted

that she and Petitioner had participated in this scheme at the Quality Inn;


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and that video surveillance from that evening showed both Petitioner and

Blakeney-Herron on the Quality Inn premises. [Id. at 33-35].

     Petitioner does not deny that he was at the Quality Inn on that

evening; rather, he contests whether the identification card depicted an

actual person. In Flores-Figuerao v. United States, 556 U.S. 646 (2009),

which was decided on May 4, 2009, almost one year before Petitioner was

sentenced, the Court held that in order to convict a defendant of

aggravated identity theft, the Government has the burden of proving that

the defendant knew that the identification that was unlawfully used did, in

fact, belong to another person.

     The evidence offered during the sentencing hearing clearly

established that the identification card that was employed in the scheme of

Petitioner and Blakeney-Herron to pass a check at the Quality Inn did

indeed belong to an actual person. Moreover, the evidence showed that

Petitioner knew that the identification did not belong to Blakeney-Herron,

but rather belonged to another person, Dwana Frazier Tillman. Therefore,

Petitioner’s present contention regarding withdrawal of his guilty plea to

Count Fifteen is without merit because there is sufficient evidence to

support each element of the charge, in particular that the stolen


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identification belonged to an actual person. Petitioner has presented no

forecast of evidence to support this claim. Accordingly, the Respondent’s

Motion for Summary Judgment will be granted, and this claim will be

denied.

      D.    Fourth Ground for Relief

      Petitioner argues that his appellate counsel provided constitutionally

deficient performance in failing to raise a claim of ineffective assistance

regarding his sentencing counsel on direct appeal. [3:12-cv-000253, Doc.

No. 1-1 at 16].

      In order to prevail on a claim of ineffective assistance of counsel, a

petitioner must show that: (1) “counsel’s representation fell below an

objective standard of reasonableness,” and (2) “the deficient performance

prejudiced the defense.” Strickland v. Washington, 466 U.S. 668, 687-88

(1984). In measuring counsel's performance, there is “a strong presumption

that counsel's conduct falls within the wide range of reasonable

professional assistance.” Id. at 689. A petitioner seeking post-conviction

relief bears a “heavy burden” to overcome this presumption. Carpenter v.

United States, 720 F.2d 546, 548 (8th Cir. 1983). Conclusory allegations do

not overcome the presumption of competency. Id.


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      To demonstrate prejudice in the context of a guilty plea, Petitioner

must still satisfy the standard set forth in Strickland.      In regard to the

second prong, Petitioner must demonstrate that he was prejudiced by

ineffective assistance of counsel by showing “a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and would have

insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

      Under these circumstances, Petitioner “bears the burden of proving

Strickland prejudice.” Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297

(4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983)). If Petitioner fails to meet this burden, “a reviewing court need not

consider the performance prong.” Fields, 956 F.2d at 1297 (citing

Strickland, 466 U.S. at 697, 104 S.Ct. 2052). In considering the prejudice

prong of the analysis, the Court must not grant relief solely because

Petitioner can show that, but for counsel's performance, the outcome of the

proceeding would have been different. See Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998). Rather, the Court “can only grant relief under . .

.Strickland if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id. (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)).

      Petitioner argues that his appellate counsel erred in failing to raise


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claims of ineffective of counsel regarding the actions, or omissions of his

sentencing counsel. See Lafler v. Cooper, 132 S. Ct. 1376, 1385 (2012)

(noting the Sixth Amendment right to effective assistance of counsel

extends to a defendant’s appeal from conviction). Petitioner argues that

sentencing counsel failed to argue against a misapplication of the adjusted

offense level and that he failed to adequately challenge the enhancement

for obstruction of justice.

      As the Government observes, in order for Petitioner’s arguments

regarding    appellate   counsel     to   succeed     he   has       the   burden      of

demonstrating that he would have succeeded on direct appeal on the

arguments regarding his sentencing counsel. [Doc. 7 at 17]. The Court

notes that Fourth Circuit precedent demonstrates that claims of ineffective

assistance of trial counsel are seldom reached on direct appeal. Rather,

those claims should generally proceed through a collateral proceeding

under § 2255. See United States v. DeFusco, 949 F.2d 114, 120 (4th Cir.

1991). As discussed, supra, Petitioner has failed to show in this proceeding

any ineffective assistance by sentencing counsel. In a §2255 proceeding a

prisoner has much greater latitude in pursuing claims of ineffective

assistance than he does on direct appeal. Petitioner’s inability to show


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such ineffective assistance herein completely undermines his claim that his

appellate counsel should have pursued the ineffective assistance claims on

direct appeal. Thus, appellate counsel’s decision not to pursue such claims

is certainly not unreasonable and Petitioner can show no prejudice.

     Petitioner’s claim fails for the additional reason that he misrepresents

the record. In the sentencing hearing, Petitioner recalls that he heard his

attorney stipulate to an offense level of 23 rather than the level 21 which

Petitioner contends is correct. [Doc. 1-1 at 22]. The PSR calculated that

Petitioner should be held responsible for $216,864.20 in restitution based

on his involvement in the conspiracy and found that a 12-level increase in

offense level was appropriate under USSG § 2B1.1(b)(1)(G)). The Court

received evidence on this issue and found that the amount of loss that was

reasonably foreseeable to Petitioner was between $120,000 and $200,000,

and therefore his offense level should only be increased by ten levels. The

Court therefore sustained Petitioner’s objection to paragraph 22 of the

PSR. Petitioner’s objection to paragraph 23 of the PSR was likewise

sustained after the Court concluded that the number of victims was

overrepresented and therefore the offense level should only be increased

by four levels rather than the six-level increase as recommended by the


                                    23



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PSR. [3:08-cr-00259, Doc. 213: PSR ¶¶ 22-23; Doc. 272: Sent. Tr. at 122-

124]. Petitioner also received a two level enhancement pursuant to USSG

§2B1.1(b)(10) for possessing five or more means of identification that were

unlawfully produced. Petitioner has not challenged that enhancement in

this proceeding.   This brought Petitioner’s adjusted offense level to 23,

which was correct. Thus, any further objection by counsel to a level 23

would have been fruitless and a stipulation, if any, would have been

harmless. It is worth emphasizing, however, that Petitioner’s sentencing

counsel vigorously argued each of these points, even prevailing in part with

regard to the enhancements in paragraphs 22 and 23.              There is no

evidence of any ineffective assistance by sentencing counsel. There is no

evidence of any ineffective assistance on this point by appellate counsel.

Accordingly, this argument is denied.

      In his final claim, Petitioner contends that his attorney was not

sufficiently prepared to defend against the Government’s effort to seek an

enhancement for obstruction of justice. Petitioner contends that his

appellate counsel’s failure to argue this issue on appeal entitles him to

relief under Strickland. [Doc. 1-1 at 16].

      During sentencing, the Government presented evidence that

                                      24



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Petitioner committed obstruction of justice by placing calls from the

Mecklenburg County Jail while he was in detained in this case. The record

makes clear that Petitioner had contact with Sherri Glenn while detained

and solicited her efforts to present a false written statement regarding his

involvement in the case and that Petitioner did this in an effort to minimize

his guilt. Ms. Glenn contacted her attorney regarding the request who in

turn contacted the FBI. An agent then spoke with Ms. Glenn and she

recounted Petitioner’s attempt to get her to provide the false statement.

      Petitioner’s contention that he was ambushed by the Government or

that his attorney was ill-prepared to defend against the obstruction

enhancement is not supported by the record. It is clear that his attorney

presented a tape of the conversation between Petitioner and Ms. Glenn

and, as he explains, in an effort to provide the Court with the full context of

the conversation. Thus, his counsel clearly anticipated that the Government

would present evidence regarding obstruction because he secured the tape

of the conversation in advance of the sentencing hearing. Petitioner was

clearly on notice of the Government’s intention and his attorney was

obviously prepared to challenge the Government’s effort. This argument

will therefore be denied.


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IV.   CONCLUSION

      For the reasons stated herein, the Court finds that Petitioner’s claims

in his Section 2255 motion are without merit and the Court will, therefore,

grant Respondent’s motion for summary judgment.

      Finally, the Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123 S. Ct.

1029, 154 L. Ed. 2d 931 (2003) (in order to satisfy § 2253(c), a “petitioner

must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong”) (citing Slack

v. McDaniel, 529 U.S. 473, 484-85, 120 S. Ct. 1595, 146 L. Ed. 2d 542

(2000).   Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000).

As a result, the Court declines to issue a certificate of appealability. See

Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.




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                              ORDER

   IT IS, THEREFORE, ORDERED that:

   1.    Respondent’s Motion for Summary Judgment [Doc. 8] is

         GRANTED, and Petitioner’s § 2255 Motion [Doc. 1] is DENIED

         and DISMISSED.

   2.    Petitioner’s Motion for an Expedited Hearing [Doc. 14] is

         DISMISSED as moot.

   3.    Pursuant to Rule 11(a) of the Rules Governing Section 2255

         Cases, the Court declines to issue a certificate of appealability.

   IT IS SO ORDERED.

                                               Signed: January 16, 2014




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